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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :                 CIVIL ACTION NO. 3:22-CV-49
  CAROLINA, BY AND THROUGH NEXT          :
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X


    PLAINTIFFS’ MOTION TO SEAL EXHIBITS 1-5 TO PLAINTIFFS’ OPPOSITION
   TO DEFENDANT RICHARD MAST’S MOTION AND MEMORANDUM IN SUPPORT
      OF ORDER DIRECTING CLERK TO REQUEST INFORMAITON HELD BY
                       A VIRGINIA CIRCUIT COURT

         Plaintiffs, by counsel, respectfully move for leave to file Exhibits 1-5 to Plaintiffs’

  Opposition to Defendant Richard Mast’s Motion and Memorandum in Support of Order Directing

  Clerk to Request Information Held by a Virginia Circuit Court under seal, pursuant to Local Civil
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  Rule 9. The Exhibits sought to be filed under seal are being filed electronically with the Court

  contemporaneously herewith, as required by Local Civil Rule 9. As further grounds for this

  motion, Plaintiffs refer to the Memorandum in Support of this Motion, filed contemporaneously

  herewith. A proposed Order is attached..

  Dated: March 14, 2023               Respectfully submitted,

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                               Counsel for Plaintiffs
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 14th day of March 2023, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to

  all CM/ECF participants.



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